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                      IN THE DISTRICT COURT OF THE UNITED STATES
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  GREENWOOD DIVISION

  UNITED STATES OF AMERICA                       )        CRIMINAL NO.: 8:19-00181-DCC
                                                 )
                                                 )
               v.                                )
                                                 )
                                                 )
  DETRIC LEE MCGOWAN, a/k/a, “Fat”               )
  DONALD NATHANIEL THOMAS, JR.,                  )
      a/k/a, “TJ”                                )
  JAMAL DEMARCUS LATIMER                         )
  SHEQUITA LATOYA HOLLOWAY                       )
  LAUREN BROOKE POORE                            )

                            MOTION FOR DISCLOSURE ORDER

       The United States of America, by and through its undersigned Assistant United States

Attorney, hereby moves this Court for an Order authorizing disclosure of income tax return and

return information.    On June 5, 2018 and November 13, 2018, the United States moved the

Court for an Ex Parte Order authorizing the Internal Revenue Service to disclose income tax

returns and return information filed by the above named defendants for the tax years December

31, 2014 through December 31, 2017.     On June 5, 2018 and November 13, 2018, the Court

signed an Ex Parte Order authorizing the requested disclosure.   In anticipation of trial the

Government respectfully requests authorization to disclose the income tax return and return

information provided pursuant to the Court’s Order to counsel for the defendants for the

following reasons:

       The United States represents that disclosure of these matters is necessary in order to

permit the parties to engage in meaningful pre-trial discovery and any plea negotiations, and

further that the matters sought to be disclosed are those which otherwise may be subsequently

provided to the defendant and counsel pursuant to Title 18 United States Code, Section 3500,
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and Rules 16 and 26.2 of the Federal Rules of Criminal Procedure. The United States further

asserts that the need to protect these records is diminished since it is likely that these matters will

be disclosed by law to the defendant and counsel in the future, and disclosure at this time may

promote judicial economy and efficiency.       The United States would also represent that these

records are not obtainable from any other means.

         For the foregoing reasons the United States respectfully requests this Court order the

following:

(1)      that the United States be Ordered to disclose returns and return information obtained

pursuant to this Court’s Order for tax years December 31, 2014 to December 31, 2017 to counsel

for the above captioned defendants; and

(2)      the parties or any witness to whom disclosure is made pursuant to this Order are subject to

the same restrictions as those imposed by the discovery disclosure Order previously filed in this

case 1; and

(3)      that not later than the conclusion of the trial, guilty plea or other final resolution of this

case in the District Court, all matters disclosed pursuant to this order are to be immediately returned

to the United States.




                                       [SIGNATURE TO FOLLOW]



1
    See Standing Order Governing Discovery at ECF No. 38.


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                                     Respectfully submitted,

                                     SHERRI A. LYDON
                                     UNITED STATES ATTORNEY

                              BY:    s/Leesa Washington
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April 1, 2019




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